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                         8                                    U N I T E D S TAT E S D I S T R I C T C O U RT

                         9                                  N O RT H E R N D I S T R I C T O F C A L I F O R N I A

                    10                                                SAN FRANCISCO DIVISION
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                    13                                                                         Case No. 3:24-md-3098-EMC
                                  In re: 23andMe, Inc. Customer
                    14            Data Security Breach Litigation
                                                                                               Plainti Io e’s Response in Support
                    15                                                                         of Appointment of SSL Slate as
                                                                                               Interim Co-Lead Counsel
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                    19                        Pursuant to Pretrial Order No. 1, plainti Paulina Io e in Io e v. 23andMe, Inc., No. 3:23-

                    20            cv-06205 (N.D. Cal.) submits this response in support of the appointment of Norman E. Siegel,

                    21            Sabita S. Soneji, and Cari Campen Laufenberg (“the SSL Slate”) as Interim Co-Lead Counsel.

                    22 For the reasons stated in their Joint Response Memorandum (ECF 23), counsel for plainti Io e

                    23            believes that the the SSL Slate is best suited to lead this important litigation.1

                    24                        Since the ling of plainti Io e’s complaint last November, plainti ’s counsel has kept

                    25            apprised of developments in this litigation, attended the rst mediation via Zoom, and has

                    26            regularly kept in contact with many of the other plainti s’ counsel regarding the progress of

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                       1 Neither Plainti Io e or her counsel has been o ered or promised anything by the SSL Slate or
                    28 its members in exchange for her support. She simply believes they would best represent the class.
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          1    settlement negotiations. However, plainti ’s counsel decided not to submit an application for

          2    leadership herself. Rather, in light of the e orts made toward resolution of this litigation, plainti

          3    Io e believes this case needs a small, cohesive, and exceptionally well-quali ed group of data-

          4    breach attorneys to steer the ship. That is the SSL Slate.

          5                In particular, plainti ’s counsel has worked collaboratively with Ms. Soneji in many other

          6    data-breach cases, including In re LastPass Data Security Incident Litigation, No. 22-cv-12047-PBS

          7    (D. Mass.) (breach of 33 million users’ password vaults), and Skurauskis v. NationsBene ts

          8    Holdings, LLC, No. 23-cv-60830- RAR (S.D. Fla.) (breach of 3 million health-insurance

          9    subscribers’ records as part of larger Fortra MDL). Ms. Soneji in extraordinarily smart and

     10        strategic and consistently delivers excellent results for data-breach victims. She also works well

      11       with everyone. Additionally, Mr. Siegel is a tenacious negotiator who is perfectly suited to

     12        maximize any class recovery as Settlement Counsel. They complement each other well.2

     13                    Importantly, the appointment of the SSL Slate re ects the diversity of the Bar and the

     14        putative classes, including across age, gender, racial background, and experience. As the Duke

     15        Guidelines note, there is a substantial bene t in increasing opportunities for quali ed diverse and

     16        younger attorneys in class action litigation, as it “will improve the likelihood of consideration of

     17 diverse ideas and perspectives.” Bolch Judicial Institute, Duke Law School, Guidelines and Best

     18        Practices for Large and Mass Tort MDLs, at 45 (Best Practice 4H) (2d ed., Sept. 2018), available at

     19        https://scholarship.law.duke.edu/bolch/5/; see also In re Robinhood Outage Litig., 2020 WL

     20        7330596 (N.D. Cal. July 14, 2020) (rejecting proposed lead counsel team consisting only of men,

     21        given its “concern[] about a lack of diversity”); Sayce v. Forescout Techs., Inc., 2020 WL 6802469

     22 (N.D. Cal. Nov. 19, 2020) (noting the “apparent lack of diversity, including by female lawyers”

     23        among co-lead counsel and “strongly urg[ing]” all parties to give meaningful opportunities to

     24        “lawyers from groups that have been historically underrepresented in the legal profession”).

     25                    For these reasons, plainti Io e supports the appointment of Mr. Siegel, Ms. Soneji, and

     26        Ms. Laufenberg as Interim Co-Lead Counsel.

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        2 Although plainti ’s counsel has not yet had the opportunity to work with Ms. Laufenberg, her
     28 record in privacy and data-breach litigation speaks for itself.
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                                   PLAINTIFF IOFFE’S RESPONSE IN SUPPORT OF APPOINTMENT OF
                                   SSL SLATE AS INTERIM CO-LEAD COUNSEL (No. 3:24-md-3098-EMC)
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     1        Dated: April 25, 2024                   Schubert Jonckheer & Kolbe LLP

     2                                                /s/ Amber L. Schubert

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                            PLAINTIFF IOFFE’S RESPONSE IN SUPPORT OF APPOINTMENT OF
                            SSL SLATE AS INTERIM CO-LEAD COUNSEL (No. 3:24-md-3098-EMC)
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